   Case 20-10927-JNP             Doc 40     Filed 06/17/22 Entered 06/17/22 17:52:52                       Desc Main
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UNITED STATES BANKRUTPCY COURT
DISTRICT OF NEW JERSEY

OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
Isabel C. Balboa, Esquire                                                          Order Filed on June 17, 2022
                                                                                   by Clerk
Cherry Tree Corporate Center                                                       U.S. Bankruptcy Court
535 Route 38, Suite 580                                                            District of New Jersey
Cherry Hill, NJ 08002
(856) 663-5002


                                                                  Case No:               20-10927-JNP
In Re:
                                                                  Hearing Date:          6/17/2022
         VAIDEHA DURR
                                                                  Judge:                 Jerrold N. Poslusny Jr.
                                                                  Chapter:                               13




                 Recommended Local Form:                     ¨     Followed          ý      Modified




                              ORDER REGARDING CHAPTER 13 STANDING
                                 TRUSTEE’S MOTION TO DISMISS OR
                                   CERTIFICATION OF DEFAULT

The relief set forth on the following pages number two (2) through three (3) is hereby ORDERED.




      DATED: June 17, 2022




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    The Court having considered the motion or certification of Isabel C. Balboa, Chapter 13 Standing Trustee,
and any objections filed, it is hereby


    ORDERED that:

      ¨       The debtor(s)' case is hereby DISMISSED




      ý       The debtor(s)’ plan is allowed to continue at the regular monthly payment of $430.00 for a period of

              31 months. If the debtor(s) should fail to make any future Chapter 13 plan payment for a period of

              more than thirty (30) consecutive days, the Trustee shall file a Certification of Default with notice of

              said Certification to the debtor(s) and debtor(s)’ attorney, if any, and the court shall enter an Order

              dismissing the debtor(s)’ case.




      ¨       An Order to Employer to pay the Chapter 13 Trustee shall be prepared and filed with the Court by the

              debtor(s) or debtor(s)’ attorney, if any, within thirty (30) days from the date of this Order.




      ý       Other:




              ý         IT IS FURTHER ORDERED that, pursuant to 11 U.S.C. § 349(b), this Court for cause

                        retains jurisdiction over any additional application filed within 30 days by any

                        administrative claimant for funds on hand with the Chapter 13 Standing Trustee.




               ý        IT IS FURTHER ORDERED that the debtor(s)' case is allow to continue with the arrears

                        being capitalized throught the debtor(s)' plan, and the plan shall continue at $11,648.00 which

                        represents total receipts applied to plan.




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      ¨    IT IS FURTHER ORDERED that the debtor(s)’ case is allowed to

           continue with a lump sum payment of             due within     days from

           the date of this Order.




      ¨    IT IS FURTHER ORDERERED that if the debtor(s)’ instant Chapter 13 case is dismissed,

           such dismissal shall be with prejudice and the debtor(s) shall be barred from filing for

           Chapter 13 bankruptcy protection for a period of      from the date of dismissal of debtor(s)’

           case.




      ¨    IT IS FURTHER ORDERED that the debtor(s)’ case is allowed to continue with tier

           payments of




      ¨    This order incorporates a fee application for debtor(s)’ attorney in the

           amount of          pending Court approval.




      ¨    A status hearing shall be held on         .




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                                                                                                       IS_CHH_5001_OTBS
